Case 1-24-40294-nnl Docy Filed Oo/O/i2z4 Entered Vs/iOsiz4 21:40:09

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

IN RE: x Case No. 1-24-40294
New York International Bagel & Coffee Inc.
Chapter 7
Debtor. x
CERTIFICATE OF SERVICE
The undersigned certifies that on May 7 , 2024 ,acopy of
(Date of Service/Mailing)

the annexed papers, to wit: copy of the Petition, Amended Schedule E/F, Amended Statement of Financial Affairs, Amended
Official Form 206Sum and Affidavit per Local Rule 1009-1(a), Affirmation Relating to Amended Pages, Notice of Amendments
and Purpose and Notice of Section 341 Meeting of Creditors, Amended Matrix

(Title of Document(s) served)
was served by depositing same in an enclosed, properly addressed postage-paid envelope, in an official
depository under the exclusive care of the United States Postal Service within the State of New York, upon the
following:

Office of the United States Trustee
Eastern District of New York
Alexander Hamilton Custom House
One Bowling Green Station, Ste. 5D
New York, NY 10004-1408

Lori Lapin Jones, Trustee

Lori Lapin Jones PLLC

98 Cutter Mill Road — Suite 255 South
Great Neck, NY 11021

47-41 31" LLC

c/o Jame P. Pagano, Esq.
225 Broadway, Ste. 1606
New York, NY 10007

Abraham Gonzalez

c/o Michael 8. Samuel, Esq.
1441 Broadway, Ste. 6085
New York, NY 10018

Efrain Zamora Nendieta
c/o Michael S. Samuel, Esq.
1441 Broadway, Ste. 6085

New York, NY 10018 ~ %
Cok Vs, -W
Dated: May 7 , 2024 Ct Dyn
Signature / ’ fq

Print name: Emily Vieyra-Haley

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